Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 1 of 17




                EXHIBIT C
     Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 2 of 17


 1    SEYFARTH SHAW LLP
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 5    Facsimile: (415) 397-8549
 6    Attorneys for Plaintiffs
      The Prudential Insurance Company
 7    Of America and PGIM
      Real Estate Finance, LLC
 8
 9
                              IN THE UNITED STATES DISTRICT COURT
10
11                          FOR THE EASTERN DISTRICT OF CALIFORNIA

12    THE PRUDENTIAL INSURANCE                       Case No. 1:24-cv-01102-KES-SAB
      COMPANY OF AMERICA and PGIM REAL
13    ESTATE FINANCE, LLC,
14                                   Plaintiffs,
15    v.
16    ACDF, LLC; ASSEMI AND SONS, INC.;               DECLARATION OF LANCE MILLER
      AVILA RANCH EA, LLC; BEAR FLAG                  IN SUPPORT OF EX PARTE MOTION
17    FARMS, LLC; C & A FARMS, LLC;                   FOR ORDER APPOINTING
      CANTUA ORCHARDS, LLC; DA REAL                   RECEIVER AND FOR PRELIMINARY
18    ESTATE HOLDINGS, LLC; FAVIER                    INJUNCTION
      RANCH, LLC; FG2 HOLDINGS LLC;
19    GRADON FARMS, LLC; GRANVILLE
      FARMS, LLC; GRANTLAND HOLDINGS
20    NO. 1, LLC; GRANTLAND HOLDINGS NO.
      2, LLC; GRANTOR REAL ESTATE
21    INVESTMENTS,        LLC;     GVM
      INVESTMENTS, LLC; GV AG, LLC;
22    LINCOLN GRANTOR FARMS, LLC;
      MARICOPA ORCHARDS, LLC; PANOCHE
23    PISTACHIOS, LLC; SAGEBERRY FARMS,
      LLC; DEREK BELL; and RACHEL MARIE
24    WHITE,
25
                       Defendants.
26
27
28
                       DECLARATION OF LANCE MILLER IN SUPPORT OF EX PARTE MOTION
                     FOR ORDER APPOINTING RECEIVER AND FOR PRELIMINARY INJUNCTION
      313425251v.2
     Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 3 of 17


 1             Pursuant to 28 U.S.C. § 1746, I, Lance Miller, declare as follows:
 2             1.      I am the Founder and a Managing Director of Pivot Management Group, LLC
 3    (“Pivot Group”), a financial advisory and turnaround management firm with an office located at
 4    1230 Rosecrans Avenue, Suite 530, Manhattan Beach, California 90266. The facts contained
 5    herein are true and accurate based upon my personal knowledge, and if called upon as a witness
 6    in this case, I could and would testify competently to the truth thereof.
 7             2.      Background and Experience. Attached hereto as Exhibit 1 is a true and correct
 8    copy of my current Curriculum Vitae. All of the information contained in the Curriculum Vitae is
 9    true and accurate.
10             3.      I understand that the plaintiffs, The Prudential Insurance Company Of America and
11    PGIM Real Estate Finance, LLC (collectively, the “Lender”), are seeking a receiver to preserve
12    and protect their interests in an almond and pistachio operation and crops related thereto, including
13    the proceeds thereof, and I have been nominated to act as the receiver in the above-captioned
14    action. I believe that I am more than qualified to serve in that role.
15             4.      I have more than 19 years of experience in complex receiverships, workouts,
16    restructurings, corporate and shareholder disputes, and distressed M&A processes. As an attorney
17    and later as a partner in distressed advisory firms (including Pivot Group), I have provided services
18    over a multitude of industries and markets to companies, creditors, equity holders, asset
19    purchasers, receiverships, and creditors’ trusts. My recent court-approved experience includes the
20    following:
21                     (a)    Columbia Pulp I, LLC (Wash. Super. Ct.) – Receiver appointed by the
22             Washington Superior Court for King County for a $150+ million plant in Starbuck,
23             Washington designed to create wetlap pulp from wheat straw. Efforts resulted in the
24             successful sale of receivership assets and distributions to primary creditors, following a
25             lengthy marketing process.
26                     (b)    iCap Enterprises, Inc. (Bankr. E.D. Wash.) – Chief Restructuring Officer
27             for a failed real estate development fund based in Bellevue, Washington that previously
28                                                     2
                       DECLARATION OF LANCE MILLER IN SUPPORT OF EX PARTE MOTION
                     FOR ORDER APPOINTING RECEIVER AND FOR PRELIMINARY INJUNCTION
      313425251v.2
     Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 4 of 17


 1             raised $250+ million from individual investors, in connection with its chapter 11
 2             bankruptcy cases currently pending before the U.S. Bankruptcy Court for the Eastern
 3             District of Washington. Efforts have included investigation of allegations involving fraud
 4             and operation of a Ponzi scheme.
 5                       (c)    CalPlant (Bankr. D. Del.) – Financial and M&A advisor for the world’s first
 6             rice straw-based MDF, based in Willows, California and funded by $300+ million in tax
 7             exempt bonds. Following confirmation of a plan of liquidation, I am now serving as the
 8             Liquidating Director for remaining assets and ongoing litigation against the former
 9             manufacturer of the plant’s equipment.
10                       (d)    Easterday Ranches, Inc. and Easterday Farms (Bankr. E.D. Wash.) –
11             Replacement management for large cattle and farming operation based in Paso,
12             Washington in large fraudulent scheme. Efforts resulted in the successful sale of $200+
13             million in farming assets.
14                       (e)    International Longshore & Warehouse Union (ILWU) (Bankr. N.D. Cal.) –
15             Financial advisor and testifying expert for 100+ year old union in connection with its
16             chapter 11 proceedings.
17                       (f)    Lear Capital (Bankr. D. Del.) – Financial advisor for precious metals retailer
18             facing significant regulatory and attorneys’ general claims relating to consumer protection
19             issues.
20                       (g)    Coastal International, Inc. (Bankr. N.D. Cal.) – Litigation trustee for
21             creditors’ trust established with respect to large tradeshow logistics provider.
22             5.        Prior to joining Pivot Group, I was a partner with another distressed financial
23    advisory firm (Paladin Management Group, LLC), and before that I served as the General Counsel
24    for Sugarfina, Inc. (where I was also appointed Chief Restructuring Officer for its chapter 11
25    proceedings) and American Apparel, LLC. I also practiced for over seven years in restructuring
26    and distressed practices with large international law firms. I hold a J.D. from Boston University
27    School of Law and a B.A. from the University of California, San Diego.
28                                                       3
                       DECLARATION OF LANCE MILLER IN SUPPORT OF EX PARTE MOTION
                     FOR ORDER APPOINTING RECEIVER AND FOR PRELIMINARY INJUNCTION
      313425251v.2
     Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 5 of 17


 1             6.      Statutory Requirements. I have no involvement with any of the parties to this
 2    action that would create a conflict of interest if I were appointed a receiver herein. Moreover, I am
 3    not related to any judge of this Court by consanguinity or affinity within the third degree.
 4             7.      I have reviewed Lender’s proposed receivership order. I, as the designated
 5    representative of Pivot Group, am willing and able to perform the duties of the receiver as outlined
 6    therein.
 7             8.      There has been no contract, agreement, or arrangement with any party
 8    hereto regarding:
 9                     (a)    What the role of the receiver will be with respect to the company following
10             a termination of the receivership, without specific court permission;
11                     (b)    Who the receiver will hire, or seek approval to hire, to perform necessary
12             services;
13                     (c)    How the receiver will administer the receivership or how much the receiver
14             will charge for services or pay for services to appropriate or approved third parties hired to
15             provide services; or
16                     (d)    What capital expenditures will be made in connection with the company’s
17             operations.
18             9.      Compensation; Other Professionals. I anticipate that I will retain Pivot Group as
19    the estate’s financial advisor and that I will retain counsel for the estate. I may also retain other
20    professionals and others as necessary to assist me in carrying out my duties as receiver. I
21    understand the fees and costs of such professionals and others will also constitute reimbursable
22    fees and costs of the receiver. I and Pivot Group’s other professionals would typically charge an
23    hourly rate for work in a matter like this one. My normal hourly rate is $925 per hour, and I expect
24    that the blended rate for this matter will be around $750 per hour. I understand that rates of this
25    nature may be burdensome for this case, and I am willing to work with the estate and key
26    stakeholders to reach an understanding on compensation that can work within the estate’s
27    resources.
28                                                      4
                       DECLARATION OF LANCE MILLER IN SUPPORT OF EX PARTE MOTION
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      313425251v.2
     Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 6 of 17


 1             10.     I understand that my compensation and that of professionals retained by the
 2    receiver will be subject to review and approval by the Court.
 3             11.     Bond. I propose that the receiver’s bond be set at $5,000.00 in this case.
 4             12.     No Other Contract. There is no contract, agreement, arrangement, or
 5    understanding between any party associated with this case as to the conduct of the receivership
 6    case.
 7             13.     As the receiver, I agree that I am an agent of the Court and not of any party to the
 8    litigation, and as such, I will remain neutral and I will act for the benefit of all who may have an
 9    interest in the receivership property.
10             I declare under penalty of perjury under the laws of the State of California that the forgoing
11    is true and correct and that this Declaration was executed this ___ day of September, 2024, at 1230
12    Rosecrans Ave., Suite 530, Manhattan Beach, California.
13
14    DATED: September __, 2024
                                                            By:
15    9/13/2024                                             Lance Miller
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28                                                      5
                       DECLARATION OF LANCE MILLER IN SUPPORT OF EX PARTE MOTION
                     FOR ORDER APPOINTING RECEIVER AND FOR PRELIMINARY INJUNCTION
      313425251v.2
                       Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 7 of 17

Certificate Of Completion
Envelope Id: CEEBECBEECFF455A8FC2100361D35CEE                                                           Status: Sent
Subject: Complete with Docusign: PGIM - Maricopa - Declaration from L. MIller in Support of Receiver Mot...
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Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 12 of 17




                 EXHIBIT 1
          Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 13 of 17


                                          Lance E. Miller
                                   Pivot Management Group, LLC
                                      1230 Rosecrans Ave., Suite 530
                                        Manhattan Beach, CA 90266
                                (323) 774-7122 • lance.miller@pivotgrp.com

                                    SENIOR DISTRESSED ADVISOR
Experienced restructuring and risk management professional across a wide array of roles and contexts
involving corporate bankruptcy and distress (including Chief Restructuring Officer, Receiver, Independent
Director, and Advisor) with proven track record in cases and matters both in and out of court. Expertise
includes operational and strategic advice or management in a distressed environment, running distressed
M&A processes, high-stakes financial turnarounds, leading and managing litigation strategies, leading
financing solicitation efforts (both equity and debt), and all manner of commercial contract and transactions
negotiation.

                                    PROFESSIONAL EXPERIENCE
Pivot Management Group, LLC — Manhattan Beach, California
 Founder and Managing Partner                                                 April 2024 — present
Lance is the founder and managing partner of Pivot, a specialty turnaround management and distressed
advisory firm. Lance leverages 20 years of restructuring experience to deliver a unique blend of
strategic and practical advice to guide clients through the restructuring process. Lance’s practice
focuses on leadership and restructuring advice for companies, sponsors, and creditors in complex
Chapter 11 and out-of-court workout situations. He has experience delivering results in many different
roles, including as Financial Advisor, Independent Director, Chief Restructuring Officer, and court-
appointed Receiver. Representative experience includes the following notable engagements:

     Interim Management/Court-Appointed Receivership and Trustee Roles: Columbia Pulp (Wash.
     Super. Ct.), iCap Enterprises, Inc. (Bankr. E.D. Wash.), CalPlant 1, LLC (Bankr. D. Del.), Apex
     Parks Group (Bankr. D. Del.), Easterday Farms and Easterday Ranches, Inc. (Bankr. E.D.
     Wash.); Coastal International, Inc. (Bankr. N.D. Cal.).

     Distressed/Bankruptcy Advisor: International Longshore and Warehouse Union (Bankr. N.D.
     Cal.), Lear Capital, Inc. (Bankr. D. Del.), In re One Table Restaurant Brands, LLC (Bankr. D.
     Del.), Chesapeake Energy Corp. (Bankr. S.D. Tex.), Chemtura Corp. (Bankr. S.D.N.Y.).

     Independent Director Roles: Yogaworks, Inc. (Bankr. D. Del.); Agway Farm & Home Supply,
     LLC (Bankr. D. Del.).

Paladin Management Group, LLC — Los Angeles, California
 Partner                                                              February 2020 — April 2024
Consulting and advice for clients regarding all manner of financial distress, corporate bankruptcy, and
turnaround management.
         Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 14 of 17


Sugarfina, Inc. — El Segundo, California
 General Counsel and Chief Restructuring Officer                      April 2017 — February 2020
Sugarfina operated an omnichannel retail business focusing on luxury confectionary and candy sales in
North America, the United Kingdom, and Asia, through owned and franchised operations. Recruited to
start Sugarfina’s first legal department and serve as a key executive in managing risk and advising
regarding growth strategies. Subsequently appointed by the Board to serve as the Company’s Chief
Restructuring Officer, to guide operations through a successful sale and auction process.
American Apparel, LLC — Los Angeles, California
 General Counsel and Corporate Secretary                            September 2014 — April 2017
American Apparel operated the largest apparel manufacturing operation in North America and over 250
retail stores in 19 different countries with more than 8,000 employees worldwide. Recruited in
September 2014 to build a new legal department and implement best-practices for minimizing
operational risk and addressing turn-around needs. Subsequently appointed to General Counsel and
Corporate Secretary to, among other things, lead a distressed M&A sale and auction process.
Accomplishments and responsibilities involved the following:
   •   In first chapter 11 proceeding, steered the company through a successful chapter 11
       restructuring through (at that time) one of the quickest chapter 11 retail cases in U.S. history.
       Confirmation involved a contested valuation trial, opposed by the company’s founder and
       former CEO.
   •   In second chapter 11 proceeding, steered the company and its Board of Directors through a
       high-profile M&A auction process, resulting in the sale to Gildan Activewear (NYSE:GIL) for
       more than $100 million.
   •   Led company in soliciting and closing on successive financing deals totaling more than $200
       million.
   •   Managed and maintained a domestic and international intellectual property portfolio across 19
       countries. The portfolio served as the primary source of value supporting the Company’s
       subsequent sale.
   •   Managed and maintained 24 domestic and international subsidiaries. As part of sale,
       strategized and implemented international wind-down and/or insolvency proceedings in ten
       (10) countries.
Law Firm Experience
 Jones Day — Los Angeles and New York                                  June 2009 — September 2014
 Kirkland & Ellis LLP — Los Angeles                                          May 2008 — June 2009
 Hennigan, Bennett & Dorman LLP — Los Angeles                          September 2007 — May 2008

Broad-based business restructuring practice involving an array of distress-related transactions and
litigation, including M&A and debt financing and loan workouts on behalf of multinational corporations,
lender and bank groups, secured and unsecured creditors, and prospective acquirers.

United States Bankruptcy Court, District of Utah — Salt Lake City, Utah
 Judicial Law Clerk                                         August 2005 — September 2007
Principal law clerk for Hon. William T. Thurman, Chief Bankruptcy Judge. One published decision was
affirmed by the U.S. Supreme Court in Hamilton v. Lanning, 130 S.Ct. 2464 (2010).
        Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 15 of 17


                                              EDUCATION
Boston University School of Law — J.D., cum laude May 2005
Honors: Edward F. Hennessey Distinguished Scholar, Top 10% (2005);
          Paul J. Liacos Scholar, Top 25% (2004).
University of California, San Diego — B.A. in Economics (Minor in Political Science), June 2002.

                                            BAR ADMISSIONS
New York (2010), Utah (2006), California (2005).
    Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 16 of 17




George Demos
Senior Director
george.demos@pivotgrp.com
George joins Pivot > as Senior Director, where he provides industry-agnostic management
advisory services including interim CFO, pre-divesture and M&A expertise.

His prior CFO roles include Grimmway Enterprises and the National Test Pilot School, both
included major acquisitions and post-M&A integration. A highly qualified and seasoned profes-
sional, George’s expertise and experience includes CRO, receiverships, interim CEO/CFO, debt
restructuring, sell-side advisory, strategic planning and start-up engagements.

Representative experience includes the following notable engagements: DC Solar (largest Ponzi
scheme in Easter Dist of CA), Easterday Ranches (BK in Eastern WA, Atlas Award), King Mountain
Tobacco (NAGG, BK in Eastern Dist of WA, Atlas Award), GenCanna (1st CBD BK case)

Prior to joining Pivot >, George’s previous roles included:

   •   Noise Control, Inc. – interim CEO

   •   Grimmway Enterprises – Chief Financial Officer

   •   National Test Pilot School – Chief Financial Officer

   •   Johasse Rebar – sell-side adviser

   •   Whitten Pumps – Chief Restructuring Officer

   •   River Ranch – interim Chief Financial Officer

George graduated from the California State University, Fullerton, receiving his Bachelor of Arts
in Business Administration with a concentration in Accounting. George holds a California CPA
(Inactive) certificate.




                     1230 Rosencranz Ave, Suite 530, Manhattan Beach, CA
    Case 1:24-cv-01102-KES-SAB Document 11-3 Filed 09/18/24 Page 17 of 17




Steve Borse
Senior Director
steve.borse@pivotgrp.com

Steve Borse joins Pivot > as Senior Director, where he brings over 15 years of hands-on
operational and financial experience to his role, specializing in cash flow management,
financial closing and consolidation, financial and operational reporting, business modeling,
change management, and compliance.

With a background as a former Controller, Steve collaborates closely with Corporate and Private
Equity clients, conducting comprehensive financial and operational assessments to drive strate-
gic initiatives.

His expertise includes guiding companies through restructuring processes, with previous en-
gagements including notable cases such as CalPlant, LLC and Sugarfina, Inc.

Prior to joining Pivot >, Steve held key financial leadership roles at Venice Brands LLC, Athletic
Greens, and Sugarfina Inc.

He holds a B.A. in Political Science from the University of Illinois, Chicago, and an MSA from the
University of Phoenix. Active in charitable endeavors, Steve supports the National Multiple Scle-
rosis Society and enjoys spending his free time traveling, skiing, golfing, and cooking.




                     1230 Rosencranz Ave, Suite 530, Manhattan Beach, CA
